Case 2:15-bk-16443-ER   Doc 85 Filed 04/04/16 Entered 04/04/16 16:44:23   Desc
                         Main Document    Page 1 of 5
Case 2:15-bk-16443-ER   Doc 85 Filed 04/04/16 Entered 04/04/16 16:44:23   Desc
                         Main Document    Page 2 of 5
Case 2:15-bk-16443-ER   Doc 85 Filed 04/04/16 Entered 04/04/16 16:44:23   Desc
                         Main Document    Page 3 of 5
Case 2:15-bk-16443-ER   Doc 85 Filed 04/04/16 Entered 04/04/16 16:44:23   Desc
                         Main Document    Page 4 of 5
Case 2:15-bk-16443-ER   Doc 85 Filed 04/04/16 Entered 04/04/16 16:44:23   Desc
                         Main Document    Page 5 of 5
